            Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 1 of 8




                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: March 28, 2018

* * * * * * * *                     *    *    *   *    *
DAMACIO CHEWIWI,                                       *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 15-954v
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Joint Stipulation; Influenza (“Flu”)
AND HUMAN SERVICES,                                    *                 Vaccination; NMDA Receptor
                                                       *                 Encephalitis.
                  Respondent.                          *
*    * *     *    * * * *           *    *    *   *    *

Andrew D. Downing, Van Cott & Talamante PLLC, Phoenix, AZ, for petitioner.
Voris E. Johnson, United States Department of Justice, Washington, DC, for respondent.

                                 DECISION ON JOINT STIPULATION1

        On September 1, 2015, Damacio Chewiwi (“petitioner”)2 filed a petition for
compensation pursuant to the National Vaccine Injury Compensation Program.3 Petitioner
received an influenza (“flu”) vaccination in the United States. Petitioner alleged that he
subsequently suffered NMDA receptor encephalitis, which he alleged was caused-in-fact by his
receipt of the flu vaccination.




1
  Because this decision contains a reasoned explanation for the action in this case, the undersigned intends to post it
on the website of the United States Court of Federal Claims, pursuant to the E-Government Act of 2002, see 44
U.S.C. § 3501 note (2012). The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the
decision is posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). “An objecting party must provide the
court with a proposed redacted version of the decision.” Id. If neither party files a motion for redaction within 14
days, the decision will be posted on the court’s website. Id.
2
 The petition was originally filed by petitioner’s mother on his behalf, because he was a minor at the time. The case
caption was amended on September 5, 2017, after petitioner reached the age of majority.

3
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.



                                                           1
            Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 2 of 8



        On March 27, 2018, respondent filed a joint stipulation providing that a decision should
be entered awarded compensation to petitioner. Joint Stipulation (ECF No. 72). Respondent
denies that the flu vaccination caused petitioner to suffer from NMDA receptor encephalitis or
any other injury, or his current condition. Id. at ¶ 6. Maintaining their respective positions, the
parties nevertheless now agree that the issues between them shall be settled and that a decision
should be entered awarding compensation to petitioner according to the terms of the joint
stipulation attached hereto as Appendix A.

         The joint stipulation awards the following:

         a) A lump sum of $155,000.00 in the form of a check payable to petitioner, Damacio
            Chewiwi. This amount represents compensation for all damages that would be
            available under 42 U.S.C. § 300aa-15(a), except as noted in paragraph 8.b of the
            stipulation (and addressed below); and

         b) A lump sum payment of $39.848.34, representing compensation for satisfaction
            of a State of New Mexico Medicaid lien, payable jointly to petitioner and:

                                                HMS
                                       ATTN: Diana Yerena
                                          P.O. Box 165596
                                       Irving, TX 75016-5596
                          Reference: Damacio Chewiwi, Case File No. 109576

             Petitioner agrees to endorse this payment to HMS.

      I find the stipulation reasonable and I adopt it as the decision of the Court in awarding
damages, on the terms set forth therein. Accordingly, the Clerk of the Court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation.4

         IT IS SO ORDERED.
                                                                         s/Thomas L. Gowen
                                                                         Thomas L. Gowen
                                                                         Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties jointly or separately filing notice
renouncing their right to seek review.


                                                           2
            Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 3 of 8



             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
DAMACIO CHEWIWI,                           )
                                           )
                  Petitioner,              )
                                           )  No. 15-954V (ECF)
v.                                        )   Special Master Gowen
                                          )
SECRETARY OF HEALTH                       )
AND HUMAN SERVICES,                       )
                                          )
                  Respondent.             )
__________________________________________)

                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1.       Damacio Chewiwi (“petitioner”) filed a petition for vaccine compensation under

the National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine

Program”). 1 The petition seeks compensation for injuries allegedly sustained following

petitioner’s receipt of an influenza (“flu”) vaccine, which vaccine is contained in the Vaccine

Injury Table (the “Table”), 42 C.F.R. §100.3(a).

       2.       Petitioner received the flu vaccine on December 5, 2014.

       3.       The vaccine was administered within the United States.

       4.       Petitioner alleges that he subsequently suffered NMDA Receptor Encephalitis,

which petitioner alleges was caused-in-fact by his receipt of the flu vaccine. Petitioner further

alleges that he experienced the residual effects of his injury for more than six months.



       1
         The petition was originally filed by petitioner’s mother, Denise Zuni, because petitioner
was a minor at the time. The case caption was amended on September 5, 2017, after petitioner
reached the age of majority.


                                                 1
            Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 4 of 8



       5.       Petitioner represents that there has been no prior award or settlement of a civil

action for damages on his behalf as a result of his condition.

       6.       Respondent denies that the flu vaccine caused petitioner to suffer from NMDA

Receptor Encephalitis or any other injury, or his current condition.

       7.       Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8.       As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human

Services will issue the following vaccine compensation payments:

       a.       A lump sum payment of $155,000.00 in the form of a check payable to
                petitioner, Damacio Chewiwi. This amount represents compensation for
                all damages that would be available under 42 U.S.C. § 300aa-15(a), except
                as noted in paragraph 8.b., below; and,

       b.       A lump sum payment of $39,848.34, representing compensation for
                satisfaction of a State of New Mexico Medicaid lien, payable jointly to
                petitioner and:

                                                 HMS
                                          Attn: Diana Yerena
                                            P.O Box 165596
                                        Irving, TX 75016-5596
                           Reference: Damacio Chewiwi, Case File No. 109576

                Petitioner agrees to endorse this payment to HMS.

       9.       As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings



                                                  2
          Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 5 of 8



before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

        10.     Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act, 42 U.S.C. § 1396

et seq.), or by entities that provide health services on a pre-paid basis.

        11.     Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys’ fees and litigation costs and past unreimbursed expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner, as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the Secretary of

Health and Human Services and the United States of America from any and all actions or causes

of action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury


                                                     3
          Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 6 of 8



Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to, or death of,

petitioner resulting from, or alleged to have resulted from, the flu vaccine administered on

December 5, 2014, as alleged by petitioner in a petition for vaccine compensation filed on or

about September 1, 2015 in the United States Court of Federal Claims as petition No. 15-954V.

       14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

       15.     If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation, or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16.     This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Vaccine Injury Act of 1986, as amended, except as

otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17.     This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner to suffer NMDA

Receptor Encephalitis or any other injury, or his current condition.

       18.     All rights and obligations of petitioner hereunder shall apply equally to


                                                  4
          Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 7 of 8



petitioner’s heirs, successors and/or assigns.

                                     END OF STIPULATION

/

/

/

/

/

/

/

/

/

/

/

/

/

/

/

/

/

/

/

/

/


                                                 5
Case 1:15-vv-00954-UNJ Document 83 Filed 04/27/18 Page 8 of 8
